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 UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF NEW YORK
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  DIANE T. CLARKE, ILANA KOPMAR, ISAAC
  ALTMAN and DAVID ROSENFELD,

           Plaintiffs,

                    -against-                                            Case No.: 2:23-cv-08869
                                                                         (NJC)(ARL)
  THE ASSOCIATION OF LEGAL AID
  ATTORNEYS, AMALGAMATED LOCAL UNION
  2325 OF THE INTERNATIONAL UNION, UNITED                                DECLARATION OF DANIEL
  AUTOMOBILE, AEROSPACE AND                                              KAHN IN OPPOSITION TO
  AGRICULTURAL IMPLEMENT WORKERS OF                                      DEFENDANTS’ MOTION TO
  AMERICA (UAW), AFL-CIO, LISA OHTA, BRET J.                             DISSOLVE THE TEMPORARY
  TAYLOR, JEREMY BUNYANER, EMILY C.                                      RESTRAINING ORDER
  EATON, MARTYNA KAZNOWSKI, GILLIAN R.
  KRESS, IOANA CALIN, and PUJA PAUL,

           Defendants.
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 I, Daniel Kahn, declare as follows:

          1.       I am an attorney with the law firm of Shearman & Sterling LLP, counsel to

 Plaintiffs Diane T. Clarke, Ilana Kopmar, Isaac Altman, and David Rosenfeld, and I am admitted

 to practice law in this Court.

          2.       Attached hereto as Exhibit 1 is a true and correct copy of the Reply Affirmation in

 Support of Continued Restraining Order and Request for Injunctive Relief, dated November 20,

 2023 (“Reply Affirmation”), filed in the action styled Clarke, et al. v. The Association of Legal

 Aid Attorneys, et al., Index No. 618764/2023 (Sup. Ct., Nassau Cnty.) (NYSCEF No. 23), which

 is also available at:

 https://iapps.courts.state.ny.us/nyscef/ViewDocument?docIndex=JaIFTNOxXSHGZqXAp7GIu

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          3.       Attached hereto as Exhibit 2 is a true and correct copy of a press release dated

 November 17, 2023, filed as Exhibit A to the Reply Affirmation, Index No. 618764/2023

 (NYSCEF No. 24), which is also available at:


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 https://iapps.courts.state.ny.us/nyscef/ViewDocument?docIndex=WliMviV3pU2hUHPKkIijVg=

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        4.      Attached hereto as Exhibit 3 is a true and correct copy of The Legal Aid Society

 of Nassau County Employee Handbook, filed as Exhibit B to the Reply Affirmation, Index No.

 618764/2023 (NYSCEF No. 25), which is also available at:

 https://iapps.courts.state.ny.us/nyscef/ViewDocument?docIndex=ocG1wwEvYrGFIyAdILzybg=

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        5.      Attached hereto as Exhibit 4 is a true and correct copy of the Unanimous

 Statement Opposing the Resolution of the Association of Legal Aid Attorneys (ALAA), UAW

 Local 2325, filed as Exhibit C to the Reply Affirmation, Index No. 618764/2023 (NYSCEF No.

 26), which is also available at:

 https://iapps.courts.state.ny.us/nyscef/ViewDocument?docIndex=gIxHqpcLMRJhvmb6k_PLUS

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        6.      Attached hereto as Exhibit 5 is a true and correct copy of an image circulating on

 social media channels in support of the Resolution.


        7.      Attached hereto as Exhibit 6 is a true and correct copy of a communication

 between union members regarding the Resolution and the related temporary restraining order.


        Executed on this 13th day of December, 2023, in New York, New York.


                                                       /s/ Daniel Kahn
                                                       Daniel Kahn




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